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              IN THE UNITED STATES DISTRICT COURT
         NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION


CORECO JA’QAN PEARSON, et al,
                                                             CASE NO.
         Plaintiffs,
v.                                                           1:20-cv-4809-TCB

BRIAN KEMP, et al,

         Defendants.


              NOTICE OF FILING ELECTRONIC MEDIA

         Come Now the Plaintiffs and submit this Notice of Filing of Electronic

Media consisting of the following time-stamped video surveillance clips from

State Farm Arena on November 3rd and 4th, 2020 which will be delivered

electronically to opposing parties in this case today and hand delivered on a

USB drive to the Clerk of Court Monday, December 7, 2020:

November 3, 2020

     -   05:08:00 AM to 05:08:10 AM

     -   07:41:00 AM to 07:41:05 AM

     -   08:37:00 AM to 08:37:08 AM

     -   03:17:24 PM to 03:17:34 PM

     -   10:16:08 PM to 10:16:18 PM

     -   10:24:50 PM to 10:25:13 PM

     -   10:28:53 PM to 10:29:37 PM
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  -   10:45:01 PM to 10:45:17 PM

  -   11:06:35 PM to 11:13:20 PM

  -   11:06:35 PM to 11:13:20 PM (Enlarged)

  -   11:06:35 PM to 11:13:20 PM (Enlarged 4x Speed)

November 4, 2020

  -   12:01:30 AM to 12:05:40 AM

  -   12:26:50 AM to 12:29:34 AM

  -   12:55:28 AM to 12:56:00 AM

  -   01:10:57 AM to 01:11:18 AM

      Respectfully submitted, this 6th day of December 2020.



                                   /s Sidney Powell*
                                   Sidney Powell PC
                                   Texas Bar No. 16209700

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*Application for admission pro hac vice
forthcoming




                                   CALDWELL, PROPST & DELOACH,
                                   LLP

                                   /s/ Harry W. MacDougald
                                   Harry W. MacDougald
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                                   Georgia Bar No. 463076

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Counsel for Plaintiffs

Attorneys for Plaintiffs



      The undersigned certifies that the foregoing document was prepared in

13-point Century Schoolbook font and in accordance with the margin and

other requirements of Local Rule 5.1.



                                   s/ Harry W. MacDougald
                                   Harry W. MacDougald
                                   Georgia Bar No. 463076
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                    CERTIFICATE OF SERVICE

     This is to certify that I have on this day e-filed the foregoing Notice of

Filing Electronic Media with the Clerk of Court using the CM/ECF system

which will cause service to made upon counsel of record therein.

     This 6th day of December 2020.

                                   s/ Harry W. MacDougald
                                   Harry W. MacDougald
                                   Georgia Bar No. 4630s76

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